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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



  UNITED STATES OF AMERICA
  v.                                                       Case No. 8:03-CR-77-T-30TBM

  SAMI AMIN AL-ARIAN, et al.
  _________________________________/

                                            ORDER

         THIS CAUSE comes before the Court upon Al-Arian’s Motion for Judgment of

  Acquittal on Count Fifty-Three (Dkt. #1328) and the Government’s Response thereto (Dkt.

  #1329). This motion presents a very close question of law on the issue of obstruction of

  justice: whether an affidavit that the affiant believes to be true, but the procurer knows to be

  false, can constitute obstruction of justice if it is obtained for use in a judicial proceeding.

  Having considered the motion and response, the Court determines that the Government's

  allegations are legally sufficient and, therefore, the motion should be denied

         The Government has charged Al-Arian with obstruction of justice pursuant to the

  omnibus clause of 18 U.S.C. §1503. (Dkt. #636 at 153). The Government alleges that Al-

  Arian unduly influenced Ziad Abu-Amr into crafting and signing a false affidavit during

  Mazen Al-Najjar’s immigration proceedings.          (Dkt. #636 at 153).       In addition, the

  Government contends that Al-Arian submitted the same allegedly false affidavit at his own

  detention hearing in this case with the express purpose of convincing the Court to grant his



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  pre-trial release. According to the Government, Al-Arian obstructed justice both by

  obtaining the affidavit and by causing it to be submitted as exculpatory evidence during his

  detention hearing.

         Al-Arian argues that even if the facts alleged by the Government are true, they would

  not, as a matter of law, amount to obstruction of justice under the omnibus clause. Al-Arian

  maintains that submitting the affidavit at his detention hearing did not constitute obstruction

  because the affidavit was not false, i.e. the affiant, Ziad Abu-Amr, believed it to be true at

  the time he prepared it. Furthermore, Al-Arian asserts that an obstruction of justice charge

  based solely on an exculpatory affidavit submitted on his own behalf violates his Sixth

  Amendment right to present a defense and his Fifth Amendment right against self-

  incrimination.

  I. 18 U.S.C. §1503

         In order to convict Al-Arian of obstruction of justice under the omnibus clause of 18

  U.S.C. §1503, the Government must show that he corruptly endeavored to influence,

  obstruct, or impede the due administration of justice. See United States v. Silverman, 745

  F.2d 1386, 1392 (11th Cir. 1984). The term “corruptly” requires only that the defendant act

  knowingly, willfully, or intentionally. United States v. Barfield, 999 F.2d 1520, 1525 (11th

  Cir. 1993). An “endeavor” is defined as any effort to accomplish the result proscribed by the

  statute. United States v. Brand, 775 F.2d 1460, 1465 (11th Cir. 1985). Finally, to constitute

  obstruction, the corrupt endeavor must be capable of preventing the due administration of

  justice. Id.

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         The Eleventh Circuit has held that attempting to influence an affiant does not

  constitute obstruction when the affidavit procured is objectively truthful. Id. at 1470. In

  Brand, the defendants crafted an affidavit and requested that the witness sign it. Id. at 1462.

  The witness refused because he did not believe the affidavit was truthful. Id. Instead, with

  the defendants’ advice, the witness crafted and signed his own affidavit. Id. The final

  affidavit reflected events which the witness believed were truthful, but which tended to

  exculpate the defendants. Id. The original unsigned affidavit crafted by the defendants was

  never submitted in a judicial proceeding. Id. at 1467.

         The Eleventh Circuit, in ruling that the defendants had not obstructed justice,

  emphasized that no false affidavit had ever actually been produced. Id. Although the

  defendants attempted to persuade the witness to sign an objectively false affidavit, the

  witness refused and offered a substitute affidavit which was objectively truthful. Id. at 1462.

  The defendants accepted the substitute affidavit without attempting to bribe or threaten the

  witness, influence his substitute affidavit, prevent him from testifying in court, or influence

  his testimony. Id. at 1469-70. The Eleventh Circuit reasoned that in the absence of any of

  these circumstances, the defendants’ unsuccessful attempt to procure a witness statement

  reflecting their version of the truth did not satisfy the “endeavor” element of the §1503

  omnibus clause. Id. at 1470. In overturning the defendants’ obstruction convictions, the

  Eleventh Circuit specifically relied upon the non-existence of a false statement. Id. at 1469;

  see also United States v. Fields, 838 F.2d 1571, 1575 (11th Cir. 1988).



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         The Eleventh Circuit later refined its ruling in Brand by examining a defendant’s

  intent in procuring a false statement. Fields, 838 F.2d at 1575. In Fields, defendant

  convinced his co-defendant to make a false sworn statement taking complete responsibility

  for the crime, thereby exculpating Fields. Id. at 1572. Fields’ attorney provided the

  statement to co-defendant’s counsel, who advised co-defendant that the statement could be

  used against him at trial.1 Id. at 1573. Co-defendant’s counsel then provided the false sworn

  statement to the prosecutor. Id. Fields argued that his actions did not amount to obstruction

  because he did not directly cause the false statement to be submitted to either the prosecutor

  or the court. Id. at 1575. However, the Eleventh Circuit found that Fields obstructed justice

  in procuring his co-defendant’s false sworn statement, reasoning that because his intent at

  the time of procurement was to use the false statement to his benefit during a judicial

  proceeding, his actions were expressly different than the actions of the defendants in Brand.

  Id. The Court held that persuading a witness to craft a false statement with the intent to use

  it at trial constituted a corrupt endeavor to obstruct justice under §1503. Id.

         Al-Arian argues that he did not “persuade” the witness to prepare a false affidavit.

  The witness prepared the affidavit voluntarily and believed its contents to be true. The

  Government contends that, even if the witness thought it was true, Al-Arian knew it was




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          Near the time co-defendant made the false sworn statement, the prosecutor notified both
  defendants of evidence from a government informant which directly contradicted co-defendant’s
  sworn statement. Id. at 1572-73.

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  false. Further, the Government argues that in obtaining the affidavit Al-Arian had the corrupt

  intent to obstruct justice.

         A corrupt purpose may convert otherwise lawful conduct into obstruction of justice.

  United States v. Cueto, 151 F.3d 620, 631 (7th Cir. 1998). A defendant’s intent at the time

  of the alleged obstruction may indicate a corrupt endeavor under §1503 even though the act

  is otherwise legal. Id. In Cueto, the defendant was an attorney with a financial interest in

  an illegal gambling enterprise. Id. at 627. During a federal investigation of the enterprise,

  the attorney filed numerous legal actions to protect it. Id. These frivolous actions were

  intended only to delay or derail both the investigation and the grand jury proceeding in which

  members of the gambling conspiracy were indicted. Id.

         In concluding that the attorney was guilty of obstruction for filing these otherwise

  lawful pleadings, the Cueto court made a factual determination that he had a corrupt motive

  to protect his financial interests. Id. at 631. Moreover, the Court opined that the purpose of

  the omnibus clause was to prevent defendants from interfering with the due administration

  of justice even absent a violation of the statute’s specific prohibitions. Id. at 630. Although

  the means employed by the attorney-defendant in Cueto were lawful, the Court determined

  they were employed with a corrupt motive and with the capacity to obstruct justice. Id. at

  631. Thus, the Court concluded, the attorney’s otherwise lawful act of filing pleadings

  constituted an endeavor under §1503 because it was done corruptly and had the capacity to

  impede the due administration of justice. Id.



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  II. Application

         The Government seeks to show that Al-Arian obstructed justice under the omnibus

  clause of 18 U.S.C. §1503 both by his procuring a false affidavit from Abu-Amr and by

  causing it to be submitted in his defense at his detention hearing in this case. (Dkt. #1329

  at 3-4).

         The Government specifically alleges that when Abu-Amr refused Al-Arian’s request

  to testify at Al-Najjar’s hearing, Al-Arian solicited the affidavit and attempted to dictate its

  contents. In Brand, the Eleventh Circuit held that defendants who did not prevent a witness

  from testifying, did not attempt to bribe or threaten the witness, and did not influence the

  witness’s resultant affidavit or testimony, were not guilty of obstruction. Brand, 775 F.2d

  at 1470. Although in this case Al-Arian arguably took similar steps to ensure that Abu-Amr

  was free to testify or sign an affidavit he believed to be true, his actions are distinguishable

  from those of the Brand defendants. According to the Government, unlike the final affidavit

  produced in Brand, Abu-Amr’s affidavit was objectively false, and Al-Arian knew of its

  falsity. While requesting a statement the defendant believes to be true is not obstruction, a

  request for a statement known to be false constitutes a corrupt endeavor if it is intended to

  be used to impede the due administration of justice. Id. at 1469.

         Again, Al-Arian argues that he acted lawfully in presenting the affidavit because he

  did not “persuade” Abu-Amr to prepare a false affidavit. Rather, Abu-Amr prepared the

  affidavit voluntarily and believed its contents to be true.



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         Abu-Amr’s belief in the truthfulness of the affidavit may shield Abu-Amr from a

  perjury charge, but it does not impute the same immunity to Al-Arian’s knowing submission

  of the same objectively false affidavit. While submitting an affidavit in his defense at the

  detention hearing might be otherwise lawful conduct, the Government asserts that Al-Arian

  had a corrupt motive that raised his action to the level of obstruction. See Cueto, 141 F.3d

  at 631. Al-Arian’s intent was for the Court to believe that there were no Palestinian Islamic

  Jihad (PIJ) members in the United States, including Al-Arian himself, and to thus release him

  on bond. This intent converted Al-Arian’s otherwise arguably lawful act into a corrupt

  endeavor under §1503.

         The Government alleges that Al-Arian’s corrupt endeavor in procuring and submitting

  the affidavit had the natural and probable consequence of impeding or influencing the due

  administration of justice. See Silverman, 745 F.2d at 1393. The Government argues that Al-

  Arian procured the false affidavit in anticipation of litigation. While his original intent in

  procuring the affidavit was to present it during Al-Najjar’s immigration proceeding,

  ultimately Al-Arian also chose to use it in his own detention hearing. In either case, the

  affidavit was designed to be presented as evidence in an administrative or judicial

  proceeding with the express purpose of convincing the Court to release a detained individual

  in the belief that he was not associated with the PIJ in the United States. This use of the

  affidavit clearly had the capacity to influence the proceeding. The Court’s consideration of

  false exculpatory evidence could have altered the Court’s evaluation of Al-Najjar's and/or

  Al-Arian’s detention status. That the affidavit failed to alter the Court’s decision as to Al-

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  Arian and Al-Najjar’s detention is no defense against obstruction. It is well settled that the

  due administration of justice need not actually have been obstructed in order to satisfy the

  statutory requirement. Id. at 1395.

         Al-Arian’s argument that the affidavit was immaterial to his detention hearing also

  holds little merit. Al-Arian asserts that because the affidavit was written three years prior to

  the date it was submitted on his behalf, the affidavit is not credible. (Dkt. #1328 at 9).

  However, Al-Arian offers no explanation for submitting an affidavit he claims was so

  obviously lacking credibility. Notwithstanding Al-Arian’s assertions, the affidavit appeared

  credible to the Court at the time it was submitted. Thus, the Court concludes that a fact

  finder could decide that the affidavit had the capacity to materially alter the Court’s decision

  whether or not to detain Al-Arian.

         In conclusion, the Court finds that the Government has alleged sufficient facts to

  establish a prima facie case against Al-Arian to support the charge of obstruction of justice

  under the omnibus clause of 18 U.S.C. §1503. Whether the Government has set forth

  sufficient proof of same is a question of fact for the jury.

         It is therefore ORDERED and ADJUDGED that Defendant's Motion for Judgment

  of Acquittal on Count Fifty-Three (Dkt. #1328) is DENIED.

         DONE and ORDERED in Tampa, Florida on November 8, 2005.




  Copies furnished to:
  Counsel/Parties of Record

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